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 6   Telephone: (41 5) 217 -6810
     Facsimile: (41 5) 217 -6813
 l
     Interim Lead Counsel for the
 8   D ir e ct P ur chas er P I aintiffs

 9

10                                     UNITED STATES DISTRICT COURT
l1                                  NORTHERN DISTRICT OF CALIFORNIA
t2                                         SAN FRANCISCO DIVISION
1a
IJ   IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14                                                   MDL No. 191 7
15
     This Document Relates To:                       DECLARATION OF R. ALEXANDER
                                                     SAVERI IN SUPPORT OF DIRECT
r6   Crago, d/b/a Dash Compulers, Inc., et al. v.    PURCHASER PLAINTIFFS' MOTION FOR
     Mitsubishi Electric CorporaÍion, et al., Case   CLASS CERTIFICATION WITH RESPECT
t7   No. 14-CV-20s8 (SC).                            TO THE THOMSON AND MITSUBISHI
                                                     DEFENDANTS
18
                                                     Date: December 12,2074
19
                                                     Time: 10:00 a.m.
                                                     Judge: Hon. Samuel Conti
20
                                                     Ctrm: l,I7th Floor
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          REDACTED VERSIOI{ OF DOCUMEI{T
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               SOUGHT TO BE SE,ALEI)
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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND M]TSUBISHI DEFENDANTS: MasteT FiIe No. CV-07-5944-SC
       Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 2 of 26




 1   I, R. ALEXANDER SAVERI, declare:

 2           1.      I am the managing partner of Saveri & Saveri, Inc., which the Courl has appointed
 J   to act as interim lead counsel on behalf of the Direct Purchaser Plaintiffs ("Plaintiffs") in this

 4   action. I have been involved in almost every aspect of this case since its inception. I submit this

 5   declaration in support of Direct Purchaser Plaintiffs'Motion for Class Certification. Except as

 6   otherwise noted, I make this declaration of my own personal knowledge, and if called upon to do

 7   so, could and would testify competently to the facts contained herein.

 8


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1l                  Attached heret o as Exhibit 1 is a true and correct copy of meeting notes
                                                                                                I
12                                that were produced in this litigation and designated "Confidential" by

13   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030916) and a certified translation

14   (cHU00030e16E).

15          4.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the

16   transcript of the deposition of Jae In Lee taken in this action.

1l          5.      Attached hereto as Exhibit 3 is a true and correct copy of Amended Plea Agreement

l8   in U.,S. v. Samsung SDI, Co., Z¡d., No. 3:l l-cr-00162-WHA G\f.D. Cal. May 17,2011) (Dkt. No.
r9   29), which I obtained from the Couft's PACER website.

20          6.      Attached hereto as Exhibit 4 is a true and correct copy of meeting notes

2l                                 that was produced in this litigation and designated "Confidential" by

22   Defendant Chunghwa Picture Tubes, Ltd. (CHU00028532-33) and a certif,ied translation
aa
¿)   (cHU00028532E-33E).
1A          7.      Attached hereto as Exhibit 5 is a true and correct copy of the Indictment in U.S. v.

25   Cheng Yuan Lin, a.k.a. C.Y. Lin,No. 3:09-cr-0131-WHA G\f .D. Cal. Feb. 10, 2009) (Dkt. No. l),

26   which I downloaded from the United States Depafiment of Justice's ("DOJ") website.

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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTìFICATION
       WITH RESPECT TO THE THOMSON AND MITSUBìSHI DEFENDANTS: Master File No. CV-07-5944-SC
           Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 3 of 26



     I          8.       Attached hereto as Exhibit 6 is a true and correct copy of the Indictment in U.S. v.

 2       Chung Cheng Yeh, a.k.a. Alex Yeh,No. 3:10-cr-00231 (l.J.D. Cal. Mar. 30, 2010) (Dkt. No. l),
 a
 J       which I downloaded from the DOJ's website.

 4              9.       Attached hereto as Exhibit 7 is a true and correct copy of the hidictment in U.S. v.

 5       Seung-Kyu Lee, a.k.a. Simon Lee; Yeong-Ug Yang, a.k.a. Yeong-\4/ook Yang, a.k.a. Yong-Shu

 6       Yang, a.k.a. Yong-Shu Liang, a.k.a. Young-UK Yang, a.k.a. Yeong-Eug Yang, a.k-a. Albert Yang;

 7       and Jae-Sik Kim, No. 3:1 0-cr-00817 0\f .D. Cal. Nov. 9,2010) (Dkt. No. I ), which I downloaded

 8       from the DOJ's website.

 9              10. Attached hereto as Exhibit 8 is a true and correct copy of the Indictment in U.S. v.
l0       I4/en Jun Cheng, a.k.a. Tony Cheng, No. 3:1 1-cr-00836 G\f .D. Cal. Aug. 18, 2009) (Dkt. No. 1),

l1       which I downloaded from the DOJ's website.

l2              I   1.   Attached hereto as Exhibit 9 is a true and correct copy of a the DOJ Press Release,

13       Former Executive Indictedfor His Role in Two Cathode Ray Tube Price-Fixing Conspiracies,

t4       dated February 10,2009, which I downloaded from the DOJ's website.

l5              12. Attached hereto as Exhibit l0 is a true and correct copy of the European
t6       Commission's Press Release, Aúirrusr: Commission confirnts sending Statement of Objections ro

1l       alleged participanrs in TV and computer moniÍor tube cartels, dated November 26,2009, which I

18       downloaded from the EU website.

19              13. Attached hereto as Exhibit 11 is a true and correct copy of the Japanese Fair Trade
20       Commission's ("JFTC") Press Release, Cease-and-Desisr Order and Surcharge Payment Orders

2l       against Manufacturers of Cathode Ray Tubes.for Televisions, dated October 7,2009, which I

22       obtained from the JFTC's website.

L)
^1              14. Attached hereto as Exhibit 12 is a true and correct copy of the Korean Fair Trade
24       Commission's ("KFTC") Press Release, KFTC Fines 5 Color Display Tube Producers 26.2 BÌllion

25       Won.for CDT Inrernational Cartel, dated January 27 ,2011, which I obtained from the KFTC's

26       website.

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         DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
           WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
           Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 4 of 26




     1             15.   Attached hereto as Exhibit 13 is a true and correct copy of the KFTC's Decision No.

     2   201 I -019, Ilronffil Joint Actions by the 5 Computer Color Monitor CDT Manufacturers, dated

     J   March 10,2011, with a certified translation, marked as Deposition Exhibits 630 and 630EF. After
     A
     +   it was first introduced, the parties agreed on changes to the certified translation, and the document

     5   was submitted for re-certification; the attached certified translation is the final, re-certified version.

     6             16.   Attached hereto as Exhibit 14 is atrue and correct copy of an article entitled Czech

     7   Competition Office fines cathode ray tubes producers for price-fixing,by Practical Law Company

     I   ("PLC"), dated August26,2070, which I obtained from the PLC website.

     9             17.   Attached heret o as bxnlbrt | ) rs a true and correct copy oï meetrng notes
                                                                                                       I
l0                                      that was produced in this litigation and designated "Confidential" by

li       Defendant Chunghwa Picture Tubes, Ltd. (CHU00028548-50) and a certified translation

12       (cHU00028s48E-s0E).

li                 18.   Attached hereto as Exhibit 16 is a true and correct copy of
1A
ll       that was produced in this litigation and designated "Confidential" by Defendant Samsung SDI Co.,

15       Ltd. (SDCRT-0006903-04) and a certified translation (SDCRT-0006903E-04E), marked as

l6       Deposition Exhibits 207 8 and 207 8F,.

17                 19.   Attached hereto as Exhibit 17 is a true and correct copy of Defendant Beijing

18       Matsushita Color CRT Co., Ltd.'s Supplemental Responses and Objections to Direct Purchaser

t9       Plaintiffs'First Set of Interrogatories, dated February 10, 2012, and served on me in this action.
20                 20.   Attached hereto as Exhibit l8 is a true and correct copy of Defendant Hitachi

2l       Display, Ltd.'s Supplemental Response to Direct Purchaser Plaintiffs' First Set of Interrogatories,

22       Nos. 4 and 5, dated February 10, 2012, and served on me in this action.

¿)                 21.   Attached hereto as Exhibit l9 is a true and correct copy of Defendant Hitachi

24       Electronic Devices (USA), Inc.'s Second Supplemental Response to Direct Purchaser Plaintiffs'

25       First Set of Interrogatories, Interrogatory No. 5, dated Aprl|26,2013, and served on me in this

26       action.

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         DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
           WITH RESPECT TO THE THOMSON AND MÌTSUBISHI DEFENDANTS: MasteT FiIe No. CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 5 of 26



 1            22.       Attached hereto as Exhibit 20 is a true and correct copy of Defendant LG

 2    Electronics Inc.'s Supplemental Response to Direct Purchaser Plaintiffs' First Set of
 a
 J    Interrogatories, Nos. 4 and 5, dated February 10,2012, and served on fite in this action.
 /l
 I            23.       Attached hereto as Exhibit 2l is a true and correct copy of Second Supplemental

 5    Responses and Objections of Panasonic Corporation North America; MT Picture Display Co., Ltd.;

 6    and Panasonic Corporation (F/K/A Matsushita Electric Industrial Co., Ltd.) to Direct Purchaser

 7    Plaintiffs' First Set of Interrogatories, dated November 3, 2011, and served on me in this action.

 8            24.       Attached hereto as Exhibit 22 is a true and correct copy of Third Supplemental

 9    Responses and Objections of Panasonic Corporation North America; MT Picture Display Co., Ltd.;

l0    and Panasonic Corporation (F/IIA Matsushita Electric Industrial Co., Ltd.) to Direct Purchaser

l1    Plaintiffs' First Set of Interrogatories, dated December 23,2011, and served on me in this action.

12            25.       Attached hereto as Exhibit 23 is a true and correct copy of Defendant Koninklijke

13    Philips Electronics N.V.'s Supplemental Responses and Objections to Direct Purchaser Plaintiffs'

t4    Filst Set of Interrogatories, Nos. 4 and 5, dated March21,2012, and served on me in this action.

15            26.       Attached hereto as Exhibit 24 is a true and correct copy of Samsung SDI

16    Defendants' Supplemental Response to Direct Purchaser Plaintiffs' First Set of Interrogatories,

17    Nos. 4 and 5, dated October 17,2071, and served on me in this action.

l8            27   .    Attached hereto as Exhibit 25 is a true and correct copy of Toshiba America

r9    Consumer Products, L.L.C.'s Supplemental Objections and Responses to Interrogatory Five of

20    Direct Purchaser Plaintiffs' First Set of Intenogatories, dated February 10, 2072, and served on me

21    in this action.

22            28.       Attached hereto as Exhibit 26 is a true and correct copy of Toshiba America
11
¿)    Electronic Components, Inc.'s Supplemental Objections and Responses to Interrogatory Nos. Four

24    and Five of Direct Purchaser Plaintiffs' First Set of Interrogatories, dated February 10, 2012, and

25    served on me in this action.

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      DECLARATìON OF R. ALEXANDER SAVERì IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
        WìTH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
       Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 6 of 26



 I           29.       Attached hereto as Exhibit 27 is a true and correct copy of Toshiba America

 z   Infolmation Systems, Inc.'s Supplemental Objections and Responses to Interrogatory Five of

 3   Dilect Purchaser Plaintiffs' First Set of Interrogatories, dated February 10, 2012, and served on me

 4   in this action.

 5           30.       Attached hereto as Exhibit 28 is a true and correct copy of Toshiba Corporation's

 6   Supplemental Objections and Responses to Interrogatory Nos. Four and Five of Direct Purchaser

 7   Plaintiffs'First Set of Interrogatories, dated February 10, 2072, and served on me in this action.

 8           31.       Attached he reto as Exhibit 29 is a true and correct copy of meeting notes
                                                                                                    I
 9                                  that were produced in this litigation and designated "Highly

10   Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-0086208-10) and a certified

1l   translation (SDCRT-0086208EF-I0EF), marked as Deposition Exhibits 652 and652EF. After it

l2   was first introduced, the parties agreed on changes to the certified translation, and the document

l3   was submitted for re-certif,rcation; the attached certified translation is the final, re-certified version.

14           32.       Attached hereto as Exhibit 3Q is a true and correct copy of meeting notes

15                                   that were produced in this litigation and designated "Confidential" by

l6   Defendant Chunghwa Picture Tubes, Ltd. (CHU00028565-66) and a certified translation

t7   (cHU0002856s8-66E).

18           33.       Attached hereto as Exhibit 3 1 is a true and correct copy of excerpts from the

19   transcript of the deposition of Chih Chun ("C.C.") Liu taken in this action.

20           34.       Attached hereto as Exhibit 32 is a true and correct copy of meeting

21                                                                             that were produced in this

22   litigation and designated "Confidential" by Defendant Chunghwa Picture Tubes, Ltd.
aa
¿)   (CHU00028877-78) and a cerlihed translation (CHU000288778-78E), marked as Deposition

24   Exhibits 1318 and 1318E.

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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       V/ITH RESPECT TO THE THOMSON AND MìTSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
       Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 7 of 26



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             35.     Attached hereto as Exhibit 33 is a true and correct copy of meeting notes
                                                                                                    r
                                    that were produced in this litigation and designated "Confidential" by

 J   Defendant Chunghwa Picture Tubes, Ltd. (CHU00028396-97) and a certified translation

 4   (CHU000283968-978), marked as Deposition Exhibits 1104 and 1104E.

             36.     Attached hereto as Exhibit 34 is a true and correct copy of meeting notes

 6                            that were produced in this litigation and designated "Confidential" by

 7   Defendant Chunghwa Picture Tubes, Ltd. (CHU00029185-88) and a certified translation

 8   (CHU00029185E-88E), marked as Deposition Exhibits 1250 and 12508.

 9           37.     Attached hereto as Exhibit 35 is a true and correct copy of meeting notes

10                                  that were produced in this litigation and designated "Confidential" by

11   Defendant Chunghwa Picture Tubes, Ltd. (CHU00028791-93) and a certified translation

12   (CHU0002879LEF-93EF), marked as Deposition Exhibits 1208 and l208EF. After it was first
1a
IJ   introduced, the parties agreed on changes to the certified translation, and the document was
1À
l+   submitted for re-certification; the attached certified translation is the final, re-cerlified version.

15           38.     Attached hereto as Exhibit 36 is a true and correct copy of meeting notes

16                                                                               that were produced in this

17   litigation and designated "Confidential" by Defendant Chunghwa Picture Tubes, Ltd.

18   (CHU00028463-64) and a certified translation (CHU000284638-64E), marked as Deposition



                                                                                                    I
19   Exhibits I 133 and 1 1338.

20           39.     Attached hereto as Exhibit 37 is a true and correct copy of meeting notes

21                                 that was produced in this litigation and designated "Confidential" by

22   Defendant Chunghwa Picture Tubes, Ltd. (CHU00028558) and a cerlified translation
aa
Z)   (CHU00028558E), marked as Deposition Exhibits 1111 and 1 I l1E.

24           40.     Attached hereto as Exhibit 38 is a true and correct copy of a document that was

25   produced in this litigation and designated "Confidential" by Defendant Mitsubishi Electric

26   Corporation (ME00131622) and a certified translation (ME001316228), marked as Deposition

2l   Exhibits 61 13 and 61 I 3E.

28

     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: MasteT FiIe No. CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 8 of 26



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              +1.     Attached hereto as Exhibit 39 is a true and correct copy of meeting notes

                                   that were produced in this litigation and designated "Highly
                                                                                                      I
  a
  J   Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-O086434-36) and a certified

  4   translation f SDCRT-0O864348-3 6E).

              42.     Attached hereto as Exhibit 40 is a true and correct copy of meeting notes

  6                                 that were produced in this litigation and designated "Highly

  l   Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-O088732-33) and a certified

  I   translation (SDCRT-0088732EF-33EF), marked as Deposition Exhibits 680 and 6808F. After it

  9   was first introduced, the parties agreed on changes to the certified translation, and the document

t0

                                                                                                   I
      was submitted for re-certification; the attached certified translation is the final, re-certified version.

ll            43.     Attached hereto as Exhibit 4l is a true and correct copy of an itinerary

12                                                                                          that was produced

13    in this litigation and designated "Confidential" by Defendant Chunghwa Picture Tubes, Ltd.

14    (CHU0002 1268-7 I) and a certi fi ed translati on (CHU00 0212688-7 1E).

15            44.     Attached hereto as Exhibit 42 is a true and conect copy of excerpts from the

l6
17

18
      transcript of the deposition of Sheng-Jen ("S.J.") Yang taken in this action.

              45.     Attached hereto as Exhibit 43 is a true and correct copy of meeting notes
                                                                                                     r
                                     that were produced in this litigation and designated "Confidential" by

r9    Defendant Chunghwa Picture Tubes, Ltd. (CHU00030855-68) and a certified translation

20    (CHU00030855E-68E), marked as Deposition Exhibits 1152 and ll52F..

2l            46.     Attached hereto as Exhibit 44 is a true and correct copy of meeting notes

22                                                                                  that were produced in this

¿J    litigation and designated "Confidential" by Defendant Chunghwa Picture Tubes, Ltd.
a/1
z-+   (CHU00028685-86) and a certified translation (CHU00028685EF-86EF). After it was first

25    introduced, the parties agreed on changes to the certified translation, and the document was

26    submitted for re-certification; the attached certified translation is the final, re-certified version.

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      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
        WITH RESPECT TO THE THOMSON AND MITSUBISHÌ DEFENDANTS: MasteT FiIe No. CV-07-5944-SC
           Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 9 of 26



     I            47. Attached hereto as Exhibit 45 is a true and correct copy of a I
 2       Powerpoint presentati""                   that was produced in this litigation and designated
                                     I
 îJ      "confidential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU00660383-94). marked as
 4       Deposition Exhibit 121 7.

                 48.      Attached hereto as Exhibit 46 is a true and correct copy of a Powerpoint

 6       presentation                                        that was produced in this litigation and designated

 7       "Confidential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU0064793243). marked as

 8       Deposition Exhibit I22l .

 9               49.      Attached hereto as Exhibit 47 is a true and correct copy of a Powerpoint

10       presentation                                        that was produced in this litigation and designated

11       "Highly Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-O087934-37) and a certified

l2       translation (SDCRT-O0879348F-37EF), marked as Deposition Exhibits 677 and 6778F. After it
11
IJ       was first introduced, the parties agreed on changes to the certified translation, and the document

14       was submitted for re-certification; the attached certified translation is the final. re-cer1ified version.

15               50.      Attached hereto as Exhibit 48 is a t*re and correct copy of rneeting notes
                                                                                                        I
lo                                   that were ploduced in this litigation and designated "Confidential,,by

17       Defendant Chunghwa Picture Tubes, Ltd. (CHU00031 1 1 1-1 2) and a certified translarion

18       (CHU00031 1 1 I EF-l zEF), marked as Deposition Exhibits 1 170 and 1 I 708F. After it was firsr

10       introduced, the parties agreed on changes to the certified translation, and the document was

20       submitted for re-certification; the attached certified translation is the final, re-certified version.

2l               51   .   Attached hereto as Exhibit 49 is a true and correct copy of a Powerpoint

22       presentation                                that was produced in this litigation and designated

¿J       "Confidential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU00660426-35).
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         DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
           WITH RESPECT TO THE THOMSON AND MITSUBISHÌ DEFENDANTS: Masrer File No. CV-07-5944-SC
      Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 10 of 26



 I           52.      Attached hereto as Exhibit 50 is a true and correct copy of meeting notes

 2                                                                              that were produced in this
 ô
     litigation and designated "Confidential" by Defendant Chunghwa Picture Tubes, Ltd.
 A
 T   (CHU00028385-87) and a certif,ied translation (CHU00028385EF-87EF), marked as Deposition

 5   Exhibits 1 135 and 1 1358F. Aftel it was first introduced, the parties agreed on changes to the

 6   certified translation, and the document was submitted for re-certification; the attached certified

 7   translation is the final. re-certified version.

 8           53.      Attached hereto as Exhibit 51 is a true and correct copy of a Powerpoint

 9   presentation                                           that was produced in this litigation and designated

10   "Highly Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-O056706-21).

11           54.      Attached hereto as Exhibit 52 is a true and correct copv of a Powerooint

12   presentatlon                                      that was produced in this litigatiori and designated
1a
IJ   "Highly Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-0087359-70).

14           55.      Attached hereto as Exhibit 53 is a true and correct copy of a Powerpoint

15   presentatlon                                      that was produced in this litigation and designated

t6   "Confidential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU00660408-18), marked as

l7   Deposition Exhibit 121 9.

l8           56.      Attached hereto as Exhibit 54 is a true and correct copy of a Powerpoint

19   presentatlon                                        that was produced in this litigation and designated

20   "Confidential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU00660373-82), marked as

2l   Deposition Exhibit 1220.

22           57   .   Attached hereto as Exhibit 55 is a true and correct copy of a Powerpoint
aa
z)   preseÍìtatlon                                         that was produced in this litigation and designated

24   "Highly Confìdential" by Defendant Samsung SDi Co., Ltd. (SDCRT-O087963-69), marked as

25   Deposition Exhibit 632.

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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND MITSUBISHì DEFENDANTS: Master File No. CV-07-5944-SC
      Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 11 of 26



 I           58.     Attached hereto as Exhibit 56 is a true and correct copy of a Powerpoint

 2   presentatlon                                that was produced in this litigation and designated

 3   "Conf,tdential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU00660671-80), marked as

 4   Deposition Exhibit I 223.

 5           59.     Attached hereto as Exhibit 57 is a true and correct copy of a Powerpoint

 6   presentation                                  that was produced in this litigation and designated

     "Highly Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-0090258-66).

                                                                                                  I
 7

 8           60.     Attached hereto as Exhibit 58 is a true and correct coov of meetins notes

 9                            that were produced in this litigation and designated "Confidential" by

10   Defendant Chunghwa Picture Tubes, Ltd. (CHU00031006-09) and a certified translation

t1   (CHU00031006E-09E), rnarked as Deposition Exhibits 1307 and1307E.

t2           61.     Attached hereto as Exhibit 59 is a true and comect copy of meeting notes
                                                                                                  I
13                            that were produced in this litigation and designated "Highly Confidential"

14   by Defendant Samsung SDI Co., Ltd. (SDCRT-0087343-48) and a ceftified translation (SDCRT-

15   0087343EF-488F). After it was first introduced, the parties agreed on changes to the certified

16   translation, and the document was submitted for re-certification; the attached certified translation is

17   the final, re-ceftified version.

l8           62.     Attached here to as Exhibit 60 is a true and correct copy of meeting notes
                                                                                                  I
19                                that were produced in this litigation and designated "Confidential" by

20   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030960-62) and a cerlified translation

2l   (CHU000309608-628), marked as Deposition Exhibits 1158 and I158E.

22           63.     Attached he reto as Exhibit 61 is a true and correct copy of meeting notes
                                                                                                  I
aa
LJ                                that were produced in this litigation and designated "Confidential" by

24   Defendant Chunghwa Picture Tubes, Ltd. (CHU00029152-54) and a certified translation

25   (CHU000291528-548), marked as Deposition Exhibits 717 and717E.

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     DECLARAT]ON OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
      Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 12 of 26



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             64.     Attached hereto as Exhibit 62 is a true and correct copy of meeting notes
                                                                                                    I
                                    that were produced in this litigation and designated "Confidential" by

 3   Defendant Chunghwa Picture Tubes, Ltd. (CHU00036390-91) and a certified translation

 4   (CHU000363908F-91EF), marked as Deposition Exhibirs 1277 and l2l7EF. After it was first

     introduced, the parties agreed on changes to the certified translation, and the document was

 6   submitted for re-certification; the attached certifìed translation is the fìnal, re-certified version.

 7           65.     Attached hereto as Exhibit 63 is a true and correct copy of Statement of Yang Sheng

 8   Jen [5.J. YangJ ro the Japan Fair Trade Commission, April I and 9, 2008, (April 8-9, 2008) and a

 9   certified translation.

10           66.     Attached hereto as Exhibit 64 is a true and correct copy of meeting notes

1l                                      that were produced in this litigation and designated "Confidential"

12   by Defendant Chunghwa Picture Tubes, Ltd. (CHU00031274-77) and a certified translation
1a
     (CHU000312748-77F'), marked as Deposition Exhibits I199 and 1199E.

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14           67.     Attached hereto as Exhibit 65 is atrue and correct copy of meetingnotes

15                             that were produced in this litigation and designated "Confidential" by

l6   Defendant Chunghwa Picture Tubes, Ltd. (CHU00029235-37) and a certified translation

17   (CHU000292358F-378F), rnarked as Deposition ExhibiTs 1142 and 1l42EF. After it was first

18   introduced, the parlies agreed on changes to the certified translation, and the document was

19   submitted for re-certification; the attached certified translation is the final. re-cerlified version.

20           68.     Attached hereto as Exhibit 66 is a true and correct copy of meeting notes
                                                                                                    I
2l                            that were produced in this litigation and designated "Confidential" by

22   Defendant Chunghwa Picture Tubes, Ltd. (CHU00124030-32) and a certified translation

¿J   (cHU00124030F-328).

24           69.     Attached hereto as Exhibit 67 is a true and correct copy of excerpts from the

25   transcript of the deposition of Jae In ("J.I.") Lee who was designated as a Fed. R. Civ. P. 30(bX6)

zo   witness for Defendant Samsung SDI Co., Ltd. taken in this action.

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     DECLARAT]ON OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND MìTSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
          Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 13 of 26



     I           70.      Attached hereto as Exhibit 68 is a true and correct copy of excerpts from a

 2       document produced in this litigation by Philips (EIN0017705-06,29,47).
 a
 J               7l.      Attached he reto as Exhibit 69 is a true and correct copy of meeting notes
                                                                                                          I
 4                                     that were produced in this litigation and designated "Confidential" by

 5       Defendant Chunghwa Picture Tubes, Ltd. (CHUO0028760-62) and a certified translation

 6       (CHU000287608-628), marked as Deposition Exhibits 1117 and l1l7B.

 7               72.      Attached hereto as Exhibit 70 is a true and correct copy of meeting notes
                                                                                                          f
 8                                that were produced in this litigation and designated "Conf,idential" by

 9       Defendant Chunghwa Picture Tubes, Ltd. (CHU00028725-27) and a cerlified translation

10       (CHU000287258-278), marked as Deposition Exhibits 1123 and ll23B.

11               73.      Attached hereto as Exhibit 71 is a true and correct copy of meeting notes

12                                that were produced in this litigation and designated "Highly Confidential"
1a
1J       by Defendant Samsung SDI Co., Ltd. (SDCRT-0086416-18) and a certified translation (SDCRT-

14       0086416EF-18EF). After it was first introduced, the parties agreed on changes to the certified

15       translation, and the document was submitted for re-certification; the attached certifìed translation is

l6       the final, re-cefiified version.

17               74.      Attached here to as ttxlllDlt /l ls a true alld correct copy oï meetlng not.,
                                                                                                          !
18                                   that were produced in this litigation and designated "Conhdential" by

19       Defendant Chunghwa Picture Tubes, Ltd. (CHUO0028613-14) and a certified translation

20       (CHU00028613E-14E), marked as Deposition Exhibits 1299 and 12998 (Deposition Exhibit

2l       12998 was marked without the certifìcation page; a copy of the complete certified translation

22       (including the cerlification page) is attached along with Deposition Exhibits 1299 and 12998).

23               7   5.   Attached hereto as Exhibit 73 is a true and correct copy of meeting nor.,
                                                                                                          I
1A
LA                                 that were produced in this litigation and designated "Confidential" by

25       Defendant Chunghwa Picture Tubes, Ltd. (CHU00030421-24) and a cerlified translation

26       (cHU00030421F-248).

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         DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
           WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: MasteÌ.FiIe No. CV-07-5944-SC
             Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 14 of 26




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     I           76.     Attached hereto as Exhibit 74 is a true and correct copy of meeting notes
                                                                                                     I
                                  that were produced in this litigation and designated "Confidential" by

 3       Defendant Chunghwa Picture Tubes, Ltd. (CHU00660213-16) and a certified translation

 4       (CHU006602138F-168F). After it was first introduced, the parties agreed on changes to the

 5       ceftifìed translation, and the document was submitted for re-certification; the attached certified

 6       translation is the final, re-certified version.

 7               77.     Attached hereto as Exhibit 75 is a true and correct copy of meeting notes

 8                                that were produced in this litigation and designated "Highly Confidential"

 9       by Defendant Samsung SDI Co., Ltd. (SDCRT-0091656-59) and a certified translation (SDCRT-

10       0091656EF-59EF), marked as Deposition Exhibits 650 and 65OEF. After it was first introduced,

11       the parties agreed on changes to the cefiified translation, and the document was submitted for re-

T2       certification; the attached certified translation is the final, re-certified version.
1a
IJ               78.     Attached hereto as Exhibit 76 is a true and correct copy of meeting notes

14                                       that were produced in this litigation and designated "Confidential" by

t5       Defendant Chunghwa Picture Tubes, Ltd. (CHU00030869-71) and a ceftified translation

r6       (cHU000308698-71E).
1a
tl                7g. Attached hereto as Exhibit 77 is a true and correct copy of meetir-rg notes I
18
         I              that was produced in this litigatio' and desig'ated "confidential" by Defendant

t9       Chunghwa Picture Tubes, Ltd. (CHU00660198-99) and a certified tlanslation (CHU00660198E-

20       998).

2l               80.     Attached hereto as Exhibit 78 is a true and correct coov of

22       that was produced in this litigation and designated "Confidential" by Defendant MT Picture

L)       Display Co., Ltd. (MTPD-0223790-92) and a celtified translation (MTPD-02237908-928\,

24       marked as Deposition Exhibits 904 and 904F..

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         DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
           WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
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 I                  Attached hereto as Exhibit 79 is a true and con'ect copy of meeting notes

 2                          that were produced in this litigation and rnarked "Confidential" by

 J    Defendant Chunghwa Picture Tubes, Ltd. (CHU0003 1010-12) and a certified translation

 rA   (CHU0003101OE-l2E), marked as Deposition Exhibits 1163 and 1163E.

 5           82.    Attached hereto as Exhibit 80 is a true and correct copy of meeting notes
                                                                                                I
 6                          that were produced in this litigation and rnarked "Confidential" by

 7    Defendant Chunghwa Picture Tubes, Ltd. (CHU00031 14247) and a cerlified translation

 8    (CHU000311428478), marked as Deposition Exhibits I175 and 11758.

 9           83.    Attached hereto as Exhibit 81 is a true and correct copy of a document that was

10    produced in this litigation and designated "Confidential" by Defendant Samsung SDI Co., Ltd.

l1    (SDCRT-OO86s 1 1).

12           84. Attached hereto as Exhibit 82 is a true and correct copy of meeting notes I
IJ                          that was produced in this litigation and designated "Confidential" by

t4    Defendant Samsung SDI Co., Ltd. (SDCRT-0087705-07) and a certified translation (SDCRT-

15    008770sE-07E).

             85. Attached heret o as Exhibit 83 is a true and correct copy of 'reeting
                                                                                           'otes I
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17                                  that were produced in this litigation and designated "Confidential" by

18    Defendant Chunghwa Picture Tubes, Ltd. (CHU00031 24047) and a cefiif,red translation

r9    (CHU000312408478), marked as Deposition Exhibits 1 193 and 1 1938.

20           86.    Attached hereto as Exhibit 84 is a true and correct copy of a document that was

21    produced in this litigation and designated "Confidential" by Defendant MT Picture Display Co.,

22    Ltd. (MTPD-0576483) and a cemified translation (MTPD-05764838), rnarked as Deposition

¿)    Exhibits 917 and 917F'.
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LA           87.    Attached hereto as Exhibit 85 is a true and correct copy of meeting notes
                                                                                                I
25                              that were produced in this litigation and marked "Confidential" by

26    Defendant Chunghwa Picture Tubes, Ltd. (CHU0002924547) and a certified translation

27    (CHU000292458478), rnarked as Deposition Exhibits 1140 and 1140E.

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      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
        WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
      Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 16 of 26




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             88.      Attached hereto as Exhibit 86 is a true and correct copy of meeting notes
                                                                                                    I
                                  that were produced in this litigation and designated "Confìdential" by

 3   Defendant Chunghwa Picture Tubes. Ltd. (CHU00029147-51) and a certified translation

 4   (cHU00029r47F-slE).

 5           89.      Attached hereto as Exhibit 87 is a true and correct copy of meeting notes

 6                           that were produced in this litigation and designated "Confidential" by

 7   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030809-14) and a certified translation

 I   (CHU00030809E-l4E), marked as Deposition Exhibits 1148 and 1148E.

 9           90.      Attached hereto as Exhibit 88 is a'true and correct copy of meeting notes

10                              that were produced in this litigation and designated "Confidential" by

11   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030679-83) and a certified translation

12   (CHU00030679E-83E), marked as Deposition Exhibits 1312 and 13128.

l3           9I.      Attached hereto as Exhibit 89 is a true and correct copy of meeting notes

t4                                                                              that were produced in this

15   litigation and designated "Confìdential" by Deferrdant Chunghwa Picture Tubes, Ltd.

16   (CHU00028400-01) and a certified translation (CHU00028400E-01E), marked as Deposition



                                                                                                   I
17   Exhibits I I 14 and 1114E.

18           92.      Attached hereto as Exhibit 90 is a true and correct copy of meeting notes

19                              that were produced in this litigation and designated "Confidential" by

20   Defendant Chunghwa Picture Tubes, Ltd. (CHU0002874648) and a certified translation

     (CHU000287468488), marked as Deposition Exhibits 1 1 l8 and 1 I l8E.

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22           93   .   Attached hereto as Exhibit 9l is a true and correct copy of meeting notes

ZJ
^a                                that were produced in this litigation and designated "Confidential" by

24   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030701-04) and a certified translation

25   (CHU00030701EF-O4EF), marked as Deposition Exhibits 1137 and 1l37EF. After it was first

¿o   introduced, the parties agreed on changes to the certified translation, and the document was

27   submitted for re-certification; the attached certified translation is the final, re-cenified version.

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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
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  I           94.     Attached hereto as Exhibit 92 is a true and correct copy of meeting notes

 2                             that were produced in this litigation and designated "Confidential" by
 a
 J    Defendant Chunghwa Picture Tubes, Ltd. (CHU00030807-08, 15) and a certified translation

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  Â
      (CHU000308078F-08EF, 15EF), marked as Deposition Exhibits 1149 and I 149EF. After it was

 5    first introduced, the parties agreed on changes to the certif,ied translation, and the document was

 6    submitted for re-certification; the attached cerlified translation is the final, re-celtified version.

 7            95.     Attached hereto as Exhibit 93 is a true and correct copy of meeting notes
                                                                                                      I
 8                             that were produced in this litigation and designated "Confidential" by

 9    Defendant Chunghwa Picture Tubes, Ltd. (CHU00029228-30) and a certified translation

10    (CHU000292288F-30EF), marked as Deposition Exhibits 1144 and 1144EF. After it was first

ll    introduced, the parties agreed on changes to the certified translation, and the document was

12    submitted for re-certification; the attached certified translation is the final. re-certified version.
1a
_tJ           96.     Attached hereto as Exhibit 94 is a true and correct copy of meeting notes

14                               that were produced in this litigation and designated "Confidential" by

15    Defendant Chunghwa Picture Tubes, Ltd. (CHU0002914446) and a certified translation

16    (CHU00029I44EF46EF), rnarked as Deposition Exhibits 706 and 706EF. After it was first

17    introduced, the parlies agreed on changes to the certified translation, and the document was

18    submitted for re-certifrcation; the attached certified translation is the final, re-cerlif,red version.

19            97.     Attached hereto as Exhibit 95 is a true and correct copy of meeting notes

20                           that were produced in this litigation and marked "Highly Confidential" by

21    Defendant Samsung SDI Co., Ltd. (SDCRT-009i353-63) and a certified translation (SDCRI'-

22    0091353EF-63EF). After it was first introduced, the parties agreed on changes to the cerlified

¿J    translation, and the document was submitted for re-certification: the attached certified translation is

24    the final, re-certified version.

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      DECLARATION OF R. ALEXANDER SAVERI ìN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
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      Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 18 of 26



 I           98.       Attached hereto as Exhibit 96 is a true and correct copy of meeting notes
                                                                                                    I
 2                                      that were produced in this litigation and designated "Confidential" by

 3   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030559-62) and a certified translation

 T   (CHU000305598F-628F), marked as Deposition Exhibits 307 and 3078F. After it was fir'st

 5   introduced, the parlies agreed on changes to the certified translation, and the document was

 6   submitted for re-certification; the attached certifìed translation is the final, re-certified version.

 7           99.       Attached hereto as Exhibit 97 is a true and correct copy of a Powerpoint

 8   presentation                                          that was produced in this litigation and designated

 9   "Confidential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU00660626-32), marked as

l0   Deposition Exhibit 1222.

1l           100. Attached hereto as Exhibit 98 is a true and correct copy of meeting notes
l2                             that were produced in this litigation and designated "Confidential" by

13   Defendant MT Picture Display Co., Ltd. (MTPD-0423675-77) and a certified translation (MTPD-

t4   0423675F.F-778F). After it was first introduced, the parties agreed on changes to the certified

15   translation, and the document was submitted for re-cerlification; the attached certified translation is

16   the final, re-certifred version.

T7           101   .   Attached hereto as Exhibit 99 is a true and correct copy of meetins notes

18                                                                        that were produced in this litigation

l9   and designated "Confidential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU00030839-40)

20   and a certified translation (CHU00030839E-40E), marked as Deposition Exhibits 1212 and 1212F..

2l           102. Attached hereto as Exhibit 100 is a true and correct coov of a                          repoft

22   that was produced in this litigation and designated "Conf,idential" by Defendant Chunghwa Picture
aa
LJ   Tubes, Ltd. (CHU00030985-90) and a certified translation (CHU00030985E-90E), marked as
1A   Deposition Exhibits 1316 and 1316E.

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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
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 I           103. Attached hereto as Exhibit 01 is a true and correct copy of meeting notes
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 ¿                                                                            that were produced in this
 a
 J   litigation and designated "Confidential" by Defendant Chunghwa Picture Tubes, Ltd.

 T   (CHU00030998) and a certified translation (CHU000309988), marked as Deposition Exhibits

 5   1317 and 13178.

 6           104. Attached hereto as Exhibit 102 is a true and correct copy of meeting notes
 7                                   that were produced in this litigation and designated "Highly

 8   Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-0090355-59) and a certified

 9   translation (SDCRT-0090355EF-59EF). After it was first introduced, the parties agreed on

10   changes to the certified translation, and the document was submitted for re-certification; the

     attached certified translation is the final, re-certified version.


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t2           105. Attached hereto as Exhibit 103 is a true and correct copy of meeting notes
13                                   that were produced in this litigation and designated "Confidential" by

14   Defendant Chunghwa Picture Tubes, Ltd. (CHU00071480-82) and a certified translation

15   (CHU00071480EF-82EF). After it was first introduced, the parlies agreed on changes to the

16   certified translation, and the document was submitted for re-certification: the attached certified

17   translation is the final, re-certified version.

18           106. Attached hereto as Exhibit 104 is a true and correct copy of a                        memo

19                                                                             that was produced in this

20   litigation and designated "Highly Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-

21   0086569-70), marked as Deposition Exhibit 667.

22           107. Attached hereto as Exhibit 105 is a true and conect copy of
¿J   that was produced in this litigation and designated "Confidential" by Defendant Koninklijke

24   Philips Electronics N.V. (PHLP-CRT-0899 1 8).

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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: MasteT FiIe No. CV-07-5944-SC
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  1           108. Attached hereto as Exhibit I 06 is a true and correct copy of meeting notes
  2                              that were produced in this litigation and designated "Confidential" by

  3   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030749-51) and a certified translation

  4   (CHU000307498-51E), marked as Deposition Exhibits 1143 and 1143E.

  5           109. Attached hereto as Exhibit 107 is a true and correct copy of meeting notes I
  6                              that were produced in this litigation and designated "Highly Confidential"

  7   by Defendant Samsung SDI Co., Ltd. (SDCRT-0086593-96) and a certified translation (SDCRT-

  8   0086s93E-96E).

  9           110. Attached hereto as Exhibit i08 is a true and correct
                                                                              "oo,
                                                                                     orl             meeting

10                                                that were produced in this litigation and designated

t1    "Highly Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-0087953-62) and a certified

t2    translation (SDCRT-0087953EF-62F.F), marked as Deposition Exhibits 631 and 63lEF. After it

l3    was first introduced, the parties agreed on changes to the certified translation, and the document

14    was submitted for re-certification; the attached certified translation is the final, re-cer1ified version.

15            1I   l.   Attached hereto as Exhibit 109 is a true and correct copy of meeting notes

16                                    that were produced in this litigation and designated "Confidential" by

17    Defendant Chunghwa Picture Tubes, Ltd. (CHU00578883-85) and a certified translation

l8    (CHU005788838F-85EF), marked as Deposition Exhibits 1871 and 1871EF. After it was fìrst

t9    introduced, the parties agreed on changes to the certified translation, and the document was

20    submitted for re-certification; the attached certified translation is the final. re-certified version.

21            112. Attached hereto as Exhibit I l0 is a true and correct copy of meeting notes
22                                that were produced in this litigation and designated "Highly

/.J   Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-0086675-81) and a certified

24    translation (SDCRT-OO86675E-8 I E).

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      DECLARAT]ON OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
        WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-01-5944-SC
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     I                    Attached hereto as Exhibit I l1 is a true and correct copy of meeting notes

 2                                    that were produced in this litigation and designated "Confidential" by

     J   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030888-93) and a certified translation

 4       (CHU000308888-938), marked as Deposition Exhibits 1 154 and 1 154E.

                 lI4.     Attached he reto as Exhibit 112 is a true and correct copy of meeting notes
                                                                                                         f
     6                                that were produced in this litigation and designated "Confidential" by

     7   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030899-903) and a celtified translation




                                                                                                         I
     8   (CHU00030899E-903E), marked as Deposition Exhibits 1155 and 1155E.

 9               115. Attached hereto as Exhibit I l3 is a true and correct copy of meeting notes
10                                   that were produced in this litigation and designated "Highly

11       Confidential" by Defendant Samsung SDI Co., Ltd. (SDCRT-0086557-60) arid a certified

12       translation (SDCRT-0086557EF-608F), marked as Deposition Exhibits 1528 and 1528EF. After it
1a
_tJ      was first introduced, the parties agreed on changes to the certified translation, and the document

14       was submitted for re-certification; the attached certified translation is the final, re-cerlified version.

15               1   16. Attached hereto as Exhibit 14 is a true and correct copy of a
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17                                                                                            that was produced

18       in this litigation by Defendant Toshiba Corporation (TSB-CRT-00041862-63) and a certified

19       translation (TSB-CRT-O004 1 8628-638).

20               117. Attached hereto as Exhibit 115 is a true and correct copy of meeting notes
21                                                                               that were oroduced in this

22       litigation and designated "Confidential" by Defendant Chunghwa Picture Tubes, Ltd.
11
¿)       (CHU00028865-67) and a certified translation (CHU000288658-67E), marked as Deposition

24       Exhibits 1524 and 15248.

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         DECLARATION OF R- ALEXANDER SAVERI ìN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
           WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
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     I          118. Attached hereto as Exhibit 116 is a true and correct copy of meeting notes
     2                            that were produced in this litigation and designated "Confidential" by
     a
     J   Defendant Chunghwa Picture Tubes, Ltd. (CHU00031 178-79) and a certified translation

     4   (CHU000311788-798), marked as Deposition Exhibits I 1 82 and 1 1828.

     5          119. Attached hereto as Exhibit l l7 is a true and correct copy of rneeting notes I
     6                           that were produced in this litigation and designated "Confìdential" by

     7   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030731-33) and a certified translation

     8   (CHU000307318-338), marked as Deposition Exhibits I l4l and 1l4lE.

     9          120. Attached he reto as Exhibit l lB is a true and correct copy of meeting notes f
10                                 that were produced in this litigation and designated "Confidential" by

11       Defendant Chunghwa Picture Tubes, Ltd. (CHU0003l 183-85) and a certified translation

12       (cHU0003l l83E-858).

13              l2l. Attached he reto as Exhibit I l9 is a true and correct copy of meeting notes I
14                                that were produced in this litigation and designated "Confidential" by

15       Defendant Chunghwa Picture Tubes, Ltd. (CHU00030831-34) and a cerlified translation

16       (cHU00030831E-34E).
11
tt              122. Attached hereto as Exhibit 120 is a true and correct copy of rneeting notes I
18                           that were produced in this litigation and designated "Confidential" by
'to
t/       Defendant Chunghwa Picture Tubes, Ltd. (CHU00031254) and a certified translation

20       (CHU000312548), marked as Deposition Exhibits l21l and 12118.

21              123. Attached hereto as Exhibit 121 is a true and correct copy of a s preadsheet I
22                                   that was produced in this litigation and designated "Confidential" by
aa
¿)       Defendant MT Picture Display Co., Ltd. (MTPD-O580726) and a cerlified translation (MTPD-

24       0580726E).

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         DECLARATION OF R. ALEXANDER SAVERI ]N SUPPORT OF DPP MOTION FOR CLASS CERT]FICATION
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                     Attached hereto as Exhibit 122 is a true and correct copy of meeting notes
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                                                                                                      !
 2                                  that were produced in this litigation and designated "Confrdential" by
 a
 J   Defendant Chunghwa Picture Tubes, Ltd. (CHU0003l05l-55) and a certified translation

 4   (CHU0003 1051EF-55EF), marked as Deposition Exhibits 1203 and l203EF. After it was fìrst

 5   introduced, the parties agreed on changes to the certified translation, and the document was

 6   submitted for re-certification; the attached certified translation is the final. re-certified version.

 7           125. Attached hereto as Exhibit 123 is a true and correct copy of meeting notes I
 8                            that were produced in this litigation and designated "Confidential" by

 9   Defendant Chunghwa Picture Tubes, Ltd. (CHU00030787-94) and a certif,red translation

10   (CHU000307878-94F'), marked as Deposition Exhibits 1147 and 11478.

ll           126. Attached he reto as Exhibit 124 is a true and correct copy of meeting notes I
12                               that were produced in this litigation and designated "Confidential" by

13   Defendant Chunghwa Picture Tubes, Ltd. (CHU00028589-90) and a certified translation

14   (CHU00028589E-90E), marked as Deposition Exhibits I 180 and I 180E.

15           127. Attached hereto as Exhibit 125 is a true and correct copy of meering notes I
16                                  that were produced in this litigation and designated "Confidential" by

17   Defendant Chunghwa Picture Tubes, Ltd. (CHU0003l 174_75) and a certified translation

18   (cHU000311748-7sE).

r9           128. Attached hereto as Exhibit 126 is a true and corect copy of meeting notes
20                               that were produced in this litigation and designated "Confidential" by

21   Defendant Chunghwa Picture Tubes, Ltd. (CHU0003 I I 80-81) and a certif,red translation

22   (CHU00031 1 808-818), marked as Deposition Exhibits l20Z and 1202F,.

¿J          129. Attached hereto as Exhibit 127 is a true and correct copy of meeting notes I
1A
LA                           that were produced in this litigation and designated "Confidential" by

25   Defendant Chunghwa Picture Tubes, Ltd. (CHU00036378-80) and a ceftified translation

26   (cHU00036378E-80E).

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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
      Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 24 of 26



 I           130. Attached hereto as Exhibit 128 is a true and correct copy of meeting notes
 2                              that were produced in this litigation and designated "Confidential" by
 a
     Defendant Chunghwa Picture Tubes, Ltd. (CHU00030720-27) and a certified translation

 4   (CHU000307208-278), marked as Deposition Exhibits 1139 and 1139E.

 5           131   .   Attached here to as Exhibit 129 is a true and correct copy of meeting notes
                                                                                                     I
 6                                 that were produced in this litigation and designated "Confidential" by

 7   Defendant Chunghwa Picture Tubes, Ltd. (CHU00028763-67) and a certified translation

 8   (cHU00028763F-6tE).

 9           132. Attached hereto as Exhibit 130 is a true and correct copy of a Powerpoint
10   presentatlon                                         that was produced in this litigation and designated

11   "Confidential" by Defendant Chunghwa Picture Tubes, Ltd. (CHU00660T17-27), marked as

t2   Deposition Exhibit 1 198.

13           133. Attached hereto as Exhibit 131 is a true and correct copy of meeting notes
t4                              that were produced in this litigation and designated "Highly Confidential"

l5   by Defendant Samsung SDI Co., Ltd. (SDCRT-0086672-74) and a certifìed translation (SDCRT-

16   00866728F-748F). After it was first introduced, the parlies agreed on changes to the certified
11
tl   translation, and the document was submitted for re-certification; the attached certified translation is

18   the final, re-certified version.

19           134. Attached hereto as Exhibit i32 is a true and correct copy of meeting notes
20                                                                                         that were produced

2l   in this litigation and designated "Confìdential" by Defendant Chunghwa Picture Tubes, Ltd.

22   (CHUO002 8 705-06) and a certified translation (CHU0002 8705E-06E).

L)           135. Attached hereto as Exhibit 133 is a true and correct copy of a meeting notes
.A
LA                                      that were produced in this litigation and designated "Confidential" by

25   Defendant MT Picture Display Co., Ltd. (MTPD-0038856-59) and a certified translation (MTPD-

26   0038856E-59E), marked as Deposition Exhibits 801 and 801E (other Bates-numbered documents

27   that were marked along with MTPD-0038856-59 as Deposition Exhibit 801 have been omitted).

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     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
       WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: MasteT FiIe No. CV-07-5944-SC
      Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 25 of 26



 1                     Attached hereto as Exhibit 134 is a true and correct copy of a

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 a
 J                                                      that was produced in this litigation and designated
 A
 I   "Confidential" by Defendant MT Picture Display Co., Ltd. (MTPD-O491049-50) and a certified

 5   translation (MTPD-04970498-50E), marked as Deposition Exhibits 1416 and 14168 (other Bates-

 6   numbered documents that were marked along with MTPD-0497049-50 as Deposition Exhibit 1416

 7   and MTPD-04970498-50E as Deposition Exhibit 14168 have been omitted).

 8           137   .   Attached hereto as Exhibit 135 is a true and correct copy of a

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10           that was produced in this litigation and designated "Confidential" by Defendant MT Picture

11   Display Co., Ltd. (MTPD-0492286-89) and a certified translation (MTPD-04922868-898),

12   marked as Deposition Exhibits 808 and 8088.
11
IJ           138. Attached hereto as Exhibit 136 is a true and correct copy of meeting notes
14                                                                     that was produced in this litigation

15   and designated "Confidential" by Defendant Hitachi Displays, Ltd. (HDP-CRT0002564647) and

t6   a certi fi ed transl ati on (H DP-CRT 00025 6 4 6847 E).

17           139. Attached hereto as Exhibit 137 is atrue and correct copy of Saveri & Saveri, Inc.'s
l8   firm biography.

19           140. Attached hereto as Exhibit I 3 8 is a true and correct copy of
20   that was produced in this litigation and designated "Confidential" by Defendant Samsung SDI Co.,

21   Ltd. (SDCRT-0006041-42) and a cerlified translation (SDCRT-00060418F-428F), marked as

22   Deposition Exhibits 635 and 635EF. After it was first introduced, the parties agreed on changes to

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^a   the certified translation, and the document was submitted for re-ceftification; the attached certified
.A
LA   translation is the final, re-cerlifred version.

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                                                         LA

     DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTìFìCATION
       WITH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: MasteT FiIe No. CV.O7-5944-SC
       Case 4:07-cv-05944-JST Document 2969-2 Filed 11/07/14 Page 26 of 26



 1           141. Attached hereto as Exhibit 139 is a true and correct copv of
 2         that was produced in this litigation and designated "Confidential" by Defendant Samsung

 J    SDI Co., Ltd. (SDCRT-0006632-33) and a certifìed translation (SDCRT-O006632F.-33E), rnarked
 A
 I    as Deposition Exhibits 1926 and 19268.
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 J           142. Attached hereto as Exhibit 140 is a true and correct copy of Technicolor SA (f/k/a
 6    Thomson SA)'s 2011 Annual Reporl that I downloaded from Technicolor SA's website.

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 8           I declare under penalty of perjury under the laws of the United States that the foregoing is

 9    true and comect. Executed on November 7.2014 at San Francisco. California.

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                                                           /s/ R. Alexander Saveri
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                                                           R. Alexander Saveri
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      DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPP MOTION FOR CLASS CERTIFICATION
        WìTH RESPECT TO THE THOMSON AND MITSUBISHI DEFENDANTS: Master File No. CV-07-5944-SC
